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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                        :                            CHAPTER 7
                              :
RONALD JEAN MARTIN AGENOR and :                            CASE NO. 14-51529 - WLH
TONYA WILLIAMS AGENOR,        :
                              :
    Debtors.                  :
                              :


              MOTION FOR AUTHORITY TO MAKE INTERIM DISTRIBUTION

         COMES NOW S. Gregory Hays, Chapter 7 trustee (“Trustee”) for the bankruptcy estates

(collectively, the “Bankruptcy Estate”) of Ronald Jean Martin Agenor (“Mr. Agenor”) and

Tonya Williams Agenor (“Mrs. Agenor” and collectively with Mr. Agenor, “Debtors”), by and

through undersigned counsel, and files this Motion for Authority to Make Interim Distribution

(“Distribution Motion”). In support of the Distribution Motion, Trustee respectfully shows as

follows:

                                    Jurisdiction and Venue

         1.     This Bankruptcy Court has jurisdiction to hear this Distribution Motion under 28

U.S.C. §§ 157 and 1334. This Distribution Motion presents a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2). Venue is proper before this Bankruptcy Court under 28

U.S.C. §§ 1408 and 1409.

                                          Background

         2.     On January 23, 2014, (the “Petition Date”), Debtors filed a voluntary petition

under Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) in the United

States Bankruptcy Court, Northern District of Georgia, Atlanta Division (the “Bankruptcy

Court”), initiating Bankruptcy Case No. 14-51529-WLH (the “Bankruptcy Case” or “Case”).



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          3.   Trustee is the duly authorized and acting Chapter 7 Trustee for the Bankruptcy

Estate.

          4.   Debtors filed this Bankruptcy Case as a no-asset case. [Doc. No. 1 at Page 1].

          5.   Nevertheless, through the efforts of Trustee and his professionals, Trustee is

currently holding approximately $56,000.00 in the Bankruptcy Estate’s bank account (through

the settlement described below, Trustee will receive another approximately $35,000.00 for the

benefit of the Bankruptcy Estate). As set forth below, Trustee recovered these funds through a

resolution of an objection to an exemption claimed by Mr. Agenor.

          6.   In this regard, prior to the Petition Date, Mr. Agenor played professional tennis on

the tour of the Association of Tennis Professionals (the “ATP”), but, importantly for Trustee,

Mr. Agenor was not an employee of the ATP (this classification was, in part, what allowed

Trustee to test the propriety of Mr. Agenor’s claimed exemption in the ATP Plan).

          7.   On his Schedule C – Property Claimed as Exempt [Doc. No. 1 at page 15 of 81),

Mr. Agenor scheduled an exemption of his entire interest in an ATP Retirement Plan (the “ATP

Plan”) under O.C.G.A. § 44-13-100(a)(2.1)(C) (the “Exemption”).

          8.   After a detailed investigation by Trustee and his professionals, Trustee discovered

that the ATP Plan is a split-dollar life insurance arrangement, whereby the ATP Tour, Inc. makes

loans to former and/or current ATP tennis players to pay premiums for life insurance benefits

represented by various life insurance policies. As a result of playing on the ATP tour and

through this program, Mr. Agenor is entitled to receive annual payments from his interest in the

ATP Plan for 20 years (the “Annual Payments”).

          9.   After the Debtors’ Section 341 meeting, a review of available documents, and

detailed legal research by Trustee’s professionals, Trustee determined that the claimed



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Exemption may have been inappropriate under applicable Georgia and federal laws, including

the Bankruptcy Code and Tax Code.

         10.   As a result, on July 30, 2014, Trustee filed an objection [Doc. No. 33], requesting,

among other things, that the Court enter an order denying the Exemption.

         11.   Debtors contested Trustee’s arguments regarding the propriety of the Exemption,

and, following negotiations, Trustee and Debtors entered into a settlement agreement (the

“Settlement Agreement”) regarding these issues, subject to Bankruptcy Court approval.

         12.   On March 18, 2015, Trustee filed a settlement motion [Doc. No. 49] (the

“Settlement Motion”) in this regard, and, following a supplement [Doc. No. 55] filed on April

20, 2015, the Court entered an order [Doc. No. 59] approving the Settlement Motion and

Settlement Agreement. As a result of the Settlement Agreement, the Bankruptcy Estate will

receive $94,500.00 from the Annual Payments.

         13.   To date, Trustee has received approximately $58,000.00 and would like to make

an interim distribution to Debtors’ unsecured creditors along with paying outstanding

administrative expenses.

         14.   The deadline for all creditors to file proofs of claim was September 3, 2014. [Doc.

No. 29].

                                        Relief Requested

         15.   Trustee requests authority from the Bankruptcy Court to pay, through an interim

distribution, 100% to allowed, priority claimants and a 1.0% initial distribution to timely filed,

allowed, general unsecured claimants. All claim issues have been resolved and appropriate

reserves have been made for fees and expenses associated with the final administration of the




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bankruptcy case. Attached hereto and incorporated herein by reference as Exhibit “A” is a

detailed listing of the proposed distributions to creditors (the “Interim Distribution Analysis”).

                                         Basis for Relief

         16.   Contemporaneously with this Distribution Motion, Trustee and the professionals

employed in this Bankruptcy Case will file interim applications for compensation. In the interim

application of Trustee, Trustee is requesting approval of $5,995.33 in interim compensation and

$62.31 in reimbursement of expenses. The requested compensation of $5,995.33 represents the

statutory allowance of compensation pursuant to 11 U.S.C. § 326 based on distributions to date

of $2,328.07 plus proposed interim distributions of $52,578.50 (which includes proposed

payments for interim fee applications of professionals—discussed below). Trustee is requesting

authority from the Court to pay 100% of his requested interim compensation and 100% of his

expenses for a total of $6,057.64.

         17.   In the interim application of Hays Financial Consulting, LLC (“HFC”), as

accountants for Trustee, HFC is requesting approval of $8,850.00 in interim compensation and

$702.89 in reimbursement of expenses. HFC is requesting authority from the Bankruptcy Court

for Trustee to pay 100% of its requested interim compensation and 100% of its expenses for a

total of $9,552.89.

         18.   In the final application of Lamberth Cifelli Ellis & Nason, P.A. (“LCEN”), as

former attorneys for Trustee, LCEN is requesting approval of $18,217.50 in final compensation

and $60.81 in reimbursement of expenses. LCEN is requesting authority from the Bankruptcy

Court for Trustee to pay 100% of its requested final compensation and 100% of its expenses for

a total of $18,278.31.




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         19.   In the interim application of Arnall Golden Gregory LLP (“AGG”), as attorneys

for Trustee, AGG is requesting approval of $10,707.50 in interim compensation and $36.86 in

reimbursement of expenses. AGG is requesting authority from the Bankruptcy Court for Trustee

to pay 100% of its requested interim compensation and 100% of its expenses for a total of

$10,744.36.

         20.   Unpaid and allowed priority claims total $5,478.77, as set forth on Exhibit “A.”

Trustee proposes to make an interim distribution of $5,478.77 (or a 100.00% payment) to holders

of timely filed priority claims.

         21.   Allowed general unsecured claims total $246,651.23, as set forth on Exhibit “A.”

Trustee proposes to make an interim distribution of $2,466.53 (or a 1.00% payment) to holders

of timely filed, allowed, general unsecured claims.

         22.   The remaining funds for the Reserve and additional administrative expense claims

and the remaining, allowed, general unsecured claims will be approximately $3,900.00. Trustee

anticipates receiving additional funds in December of 2021 or January of 2022 as a result of the

Settlement Agreement and will continue to collect the outstanding Settlement Funds of

$35,659.00 until he receives the total amount owed of $94,500.00. Trustee plans to make

another interim distribution to holders of timely filed, non-priority claims as those additional

funds are received.




                               [INTENTIONALLY LEFT BLANK]




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         WHEREFORE, Trustee respectfully requests that the Bankruptcy Court (i) grant this

Distribution Motion, (ii) authorize an interim distribution in this Bankruptcy Case on approved

claims based on the attached Interim Distribution Analysis, and (iii) grant such other and further

relief as the Court may deem just and proper.

         Respectfully submitted this 9th day of November, 2021.

                                                    ARNALL GOLDEN GREGORY LLP
                                                    Attorneys for Trustee

                                                    By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                        Michael J. Bargar
Atlanta, Georgia 30363                                 Georgia Bar No. 645709
(404) 873-7030                                         michael.bargar@agg.com
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                             EXHIBIT “A” FOLLOWS




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Ronald and Tonya Agenor
Case # 14-51529-WLH
Interim Distribution Calculation

Cash in Bank 11/3/2021                                                          $56,512.93
Reserve                                                                          $3,934.43
Funds Available for Interim Distribution                                        $52,578.50

Administrative Claims                                           Claim     Proposed Payment
        Trustee - Commission & Exp                              $6,057.64        $6,057.64
        Hays Financial Consulting - Fees & Exp                  $9,552.89        $9,552.89
        Lamberth Cifelli Ellis & Nason - Fees & Exp            $18,278.31       $18,278.31
        Arnall Golden Gregory - Fees & Exp                     $10,744.36       $10,744.36
                                                               $44,633.20       $44,633.20

Priority Claims:                                                Claim     Proposed Payment    Rate
   6-2 Department Of The Treasury (IRS)                         $5,478.77        $5,478.77    100%

Unsecured Claims:                                                Claim     Proposed Payment   Rate
   1    CACH, LLC                                               $11,788.47          $117.89   1.0%
   2    American InfoSource LP                                   $1,318.56           $13.19   1.0%
   3    Atlas Acquisitions LLC                                  $10,935.76          $109.36   1.0%
   4    Atlas Acquisitions LLC                                   $3,862.62           $38.63   1.0%
   5    Atlas Acquisitions LLC                                  $11,288.94          $112.89   1.0%
 6-2U Department Of The Treasury (IRS)                           $4,629.58           $46.29   1.0%
   7    Ford Motor Credit Company LLC                           $17,445.17          $174.45   1.0%
   8    George Klein                                            $14,250.50          $142.51   1.0%
   9    Jason Feldman                                           $17,340.00          $173.40   1.0%
  10    Harold Toussaint                                       $150,000.00        $1,500.01   1.0%
 11U (CA) Franchise Tax Board                                   $3,791.63            $37.91   1.0%
                                                              $246,651.23         $2,466.53   1.0%

Fines, Penalties Claims §726(a)(4):
 6-2Ua Department Of The Treasury (IRS)                         $3,374.61             $0.00
 11Ua (CA) Franchise Tax Board                                  $1,130.55             $0.00
                                                                $4,505.16             $0.00

Total Proposed Distributions                                                    $52,578.50
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                               CERTIFICATE OF SERVICE

       This is to certify that on November 9, 2021, the undersigned caused to be served a true
and correct copy of the forgoing Motion for Authority to Make Interim Distribution by depositing
copies of same into the United States mail on the date set forth above, with adequate postage
affixed thereto to assure delivery by regular first class mail to the following entities at the
addresses stated:


Office of the U.S. Trustee                         Ronald Jean Martin Agenor
362 Richard B. Russell Federal Building            20533 Biscayne Blvd #119
75 Ted Turner Drive SW                             Aventura, FL 33180
Atlanta, GA 30303
                                                   Tonya Williams Agenor
S. Gregory Hays                                    20533 Biscayne Blvd #119
Hays Financial Consulting, LLC                     Aventura, FL 33180
Suite 555
2964 Peachtree Road NW
Atlanta, GA 30305-2153




         This 9th day of November, 2021.

                                            By:/s/ Michael J. Bargar
                                               Michael J. Bargar
                                               Georgia Bar No. 645709




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